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18   ORACLE AMERICA, INC.
19                                  UNITED STATES DISTRICT COURT
20                                 NORTHERN DISTRICT OF CALIFORNIA
21                                     SAN FRANCISCO DIVISION

22   ORACLE AMERICA, INC.                              Case No. CV 10-03561 WHA

23                    Plaintiff,                       [PROPOSED] ORDER GRANTING
                                                       GOOGLE, INC.’S ADMINISTRATIVE
24          v.                                         MOTION TO FILE DOCUMENTS UNDER
                                                       SEAL (DKT. NO. 580)
25   GOOGLE, INC.
                                                       Dept.: Courtroom 8, 19th Floor
26                                                     Judge: The Honorable William Alsup
                   Defendant.
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     [PROP] ORDER GRANTING GOOGLE’S ADMIN. MOTION TO FILE DOCUMENTS UNDER SEAL (DKT. NO. 580)
                                     CASE NO. CV 10-03561 WHA
         Case 3:10-cv-03561-WHA Document 599-1 Filed 11/03/11 Page 2 of 2


1           Before the Court is Google Inc.’s Administrative Motion to File Documents Under Seal (Dkt

2    No. 580) dated October 28, 2011. Based on the arguments presented in the administrative motion, in

3    the supporting Declaration of Matthew Sarboraria, and on any other relevant matter, the Court hereby

4    GRANTS IN PART the motion. The following information shall be filed under seal:

5           1) Lines 12:14–17 and 12:22–13:2 of Google’s Opposition to Motion to Exclude Portions of

6               the Expert Reports of Gregory K. Leonard and Alan J. Cox (Dkt. No. 581).

7           2) Exhibit J of the Declaration of David Zimmer in Support of Google’s in Support of Google’s

8               Opposition to Motion to Exclude Portions of the Expert Reports of Gregory K. Leonard and

9               Alan J. Cox (Dkt. No. 581-12).

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11          IT IS SO ORDERED.
12

13   Dated:__________________________                           ________________________________
14                                                              WILLIAM ALSUP
15                                                              UNITED STATES DISTRICT JUDGE

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     [PROP] ORDER GRANTING GOOGLE’S ADMIN. MOTION TO FILE DOCUMENTS UNDER SEAL (DKT. NO. 580)
                                     CASE NO. CV 10-03561 WHA
